                     Case 1:17-cv-02511-RJL Document 115 Filed 04/09/18 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                        District
                                                  __________     of Columbia
                                                              District of __________


             UNITED STATES OF AMERICA                             )
                             Plaintiff                            )
                                v.                                )      Case No.   1:17-cv-02511-RJL
                       AT&T INC., et al.                          )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          United States of America                                                                                            .


Date:          04/09/2018                                                                /s/ Frederick S. Young
                                                                                            Attorney’s signature


                                                                              Frederick S. Young (D.C. Bar No. 421285)
                                                                                        Printed name and bar number
                                                                                      U.S. Department of Justice
                                                                                            Antitrust Division
                                                                                    450 Fifth Street NW, Suite 7000
                                                                                        Washington, DC 20530
                                                                                                  Address

                                                                                       frederick.young@usdoj.gov
                                                                                              E-mail address

                                                                                             (202) 307-2869
                                                                                             Telephone number

                                                                                             (202) 514-6381
                                                                                               FAX number


            Print                        Save As...                                                                   Reset
